Case 2:16-cv-13036-GAD-SDD ECF No. 57 filed 10/26/17          PageID.930    Page 1 of 3
 


                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

    DEMAR PARKER,

          Plaintiff,
                                             Case No: 16-cv-13036-GAD-SDD
    vs.                                      Hon. Gershwin A. Drain
                                             Mag. Stephanie Dawkins Davis
    CITY OF DETROIT, a municipality,
    et al.,

    Jointly and severally,

          Defendants.

    SALVATORE PRESCOTT &                     CITY OF DETROIT LAW DEPT.
    PORTER, PLLC                             Gregory B. Paddison (P75963)
    Sarah S. Prescott (P70510)               Attorney for Defendants
    Nakisha N. Chaney (P65066)               2 Woodward Ave., Ste. 500
    Attorneys for Plaintiff                  Detroit, MI 48226
    105 East Main Street                     (313) 237-0435
    Northville, MI 48167                     paddisong@detroitmi.gov
    (248) 679-8711
    prescott@spplawyers.com
    chaney@spplawyers.com

                        STIPULATED PROTECTIVE ORDER

          The parties have mutually agreed on reasonable protections that will aid and

facilitate discovery, as follows:

          1.    Plaintiff will keep and maintain items ordered to be produced by the

Court, pursuant to Docket No. 56, for use in this case and for no other purpose.

          2.    Plaintiff will provide 14 days’ notice to Defendant City before he


 
Case 2:16-cv-13036-GAD-SDD ECF No. 57 filed 10/26/17           PageID.931     Page 2 of 3
 


publicly files items identified at Pg ID 927 (“addresses, phone numbers, dates of

birth or other information covered by Fed. R. Civ. P. 5.2”) in the docket or uses

them in open court, so that Defendant may seek an order sealing the evidence, if it

so wishes. Upon filing a motion, Plaintiff will refrain from publicly filing the

materials until a ruling is entered.

         3.    The parties enter this stipulation to aid in discovery and without

prejudice to any future argument about the need to maintain confidentiality, and

entry of this Order shall not be considered to alter any burden on any party

otherwise applicable relative to establishing confidentiality.

         4.    Nothing in this Order shall be interpreted to address admissibility of

any evidence.

         IT IS SO ORDERED.

                                               /s/Gershwin A Drain
                                               Hon. Gershwin A. Drain
    Dated: October 26, 2017                    United States District Judge

Approved as to form and substance:

    /s/ Sarah S. Prescott                      /s/ Gregory B. Paddison (w/ permission)
    Sarah S. Prescott (P70510)                 Gregory B. Paddison (P75963)ok
    SALVATORE PRESCOTT &                       CITY OF DETROIT LAW DEPT.
    PORTER, PLLC                               Attorney for Defendants
    Attorneys for Plaintiff                    2 Woodward Ave., Ste. 500
    105 E. Main Street                         Detroit, MI 48226
    Northville, MI 48167                       (313) 237-0435
    (248) 679-8711                             paddisong@detroitmi.gov
    prescott@spplawyers.com
    Dated: October 20, 2017                    Dated: October 25, 2017
                                           2
Case 2:16-cv-13036-GAD-SDD ECF No. 57 filed 10/26/17   PageID.932   Page 3 of 3
 


 




                                     3
